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 2
                             UNITED STATES DISTRICT COURT
 3
                                    DISTRICT OF NEVADA
 4
      BILLY JOVAN SAIZ,                               Case No. 2:23-cv-01228-ART-BNW
 5
                                    Petitioner,                   ORDER
 6          v.
 7    BRIAN E. WILLIAMS, SR.,
 8                              Respondents.
 9
           Petitioner Billy Jovan Saiz, a pro se Nevada prisoner, submitted a Petition
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     for Writ of Habeas Corpus under 28 U.S.C. § 2254. (ECF No. 1-1.) However, Saiz
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     failed to pay the standard $5.00 filing fee or file an application for leave to proceed
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     in forma pauperis (“IFP”). On August 9, 2023, this Court ordered Saiz to pay his
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     filing fee or file an IFP application within 45 days. (ECF No. 4.) Saiz was warned
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     that “failure to timely comply with this Order will result in the dismissal of this
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     action without prejudice and without further advance notice.” (Id. at 2.) That 45-
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     day deadline expired on September 23, 2023. Because Saiz did not pay his filing
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     fee, submit an IFP application, request an extension of time, or take any other
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     action to prosecute this case, this Court dismissed this action without prejudice
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     on October 16, 2023. (ECF No. 6.) Judgment was entered accordingly. (ECF No.
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     7.) The following day, October 17, 2023, Saiz filed a motion for leave to proceed
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     IFP. (ECF No. 8.)
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           Based on Saiz’s attempt to comply with this Court’s previous order, this
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     Court reopen this case and vacates the dismissal order and judgment. However,
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     because Saiz’s motion for leave to proceed IFP is incomplete, he must file a
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     financial certificate signed by an authorized prison official and his inmate
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     account statement before this Court will screen his petition. This Court notes
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     that Saiz may be entitled to the appointment of counsel in this matter and advises
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 1   him to file a motion for appointment of counsel if desired.

 2         It is therefore ordered that the Clerk of Court reopen this case, vacate the

 3   dismissal order (ECF No. 6), and vacate the judgment (ECF No. 7).

 4         It is further ordered that Saiz has 45 days from the date of this order to file

 5   a financial certificate signed by an authorized prison official and his inmate

 6   account statement.

 7         It is further ordered that the Clerk of the Court send Saiz a blank form IFP

 8   application for incarcerated litigants.

 9         It is further ordered that failure to comply with this order will result in this

10   action being dismissed again.

11         DATED THIS 18th day of October 2023.

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14                                          ANNE R. TRAUM
                                            UNITED STATES DISTRICT JUDGE
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